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 5   Attorney for Defendant
     MICHAEL KIRK CAREY
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 7
 8                                 UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11
      UNITED STATES OF AMERICA,                                CR. S-03-0097 FCD
12
                               Plaintiff,                    STIPULATION AND ORDER
13                                                          CONTINUING STATUS
                     vs.                                  CONFERENCE RE: DEFENDANT
14                                                       MICHAEL CAREY ONLY
      MICHAEL KIRK CAREY, et al.,
15
                               Defendants.
16
17          IT IS HEREBY STIPULATED between the United States of America, through its attorney

18   of record, Anne Pings, Assistant U.S. Attorney, and MICHAEL KIRK CAREY, through his

19   counsel, David W. Dratman, that the status conference scheduled for June 13, 2005 be continued

20   to August 8, 2005 at 9:30 a.m. for defendant CAREY only. (The other defendants are proceeding

21   on separate schedules.)

22          This matter continues to be complex within the meaning of the Speedy Trial Act due to the

23   volume of discovery, complexity of factual and legal issues and the need for defense counsel to

24   have additional time to prepare. The parties stipulate that the ends of justice are met by excluding

25   time until August 8, 2005; and, that the need of this defendant for additional time to prepare

26   exceeds the public interest in a trial within 70 days.

27          Accordingly, the time between for June 13, 2005 and August 8, 2005 should be excluded

28   from the calculation of time pursuant to the Speedy Trial Act, due to complexity and the needs of
     STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE RE: DEFENDANT MICHAEL CAREY ONLY
     United States v. Michael Carey, et al.
     [CR. S-03-0097 FCD]
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 1   counsel to prepare, pursuant to 18 U.S.C. §§ 3161(h)(8)(B)(ii) and (iv)[Local Codes T2 and T4].
 2   Dated: June 7, 2005                                /s/ David W. Dratman
                                                        DAVID W. DRATMAN
 3                                                      Attorney for Defendant
                                                        MICHAEL KIRK CAREY
 4
 5
 6   Dated: June 7, 2005                                McGREGOR W. SCOTT
                                                        UNITED STATES ATTORNEY
 7
 8
 9                                                      By: /s/ Anne Pings*
                                                          ANNE PINGS
10                                                        Assistant U.S. Attorney
                                                          *Signed with permission
11
12                                              ORDER
13          IT IS SO ORDERED.
14   Dated: June 7, 2005
15
16                                                      /s/ Frank C. Damrell Jr.
                                                        FRANK C. DAMRELL JR.
17                                                      United States District Court Judge
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     STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE RE: DEFENDANT MICHAEL CAREY ONLY
     United States v. Michael Carey, et al.
     [CR. S-03-0097 FCD]                           -2-
